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                                                   #:1173
                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                       CRIMINAL MINUTES - GENERAL


                •   Motion in Limine to Preclude Evidence, Argument, and Questioning Related to
                    Defendant’s Punishment, Conditions of Incarceration, and Other Irrelevant and
                    Prejudicial Topics [92] is GRANTED.


The court confers with counsel re: jury instructions, verdict form, witness list, and AV equipment
training. The government is ordered to file forthwith a redline version of the parties’ joint proposed
jury instructions, Dkt. 163. The court denies defendant’s proposed jury instruction, Dkt. 164. The
government is ordered to provide the court and defendant with a list of the complete names of all
prospective government witnesses forthwith. Defendant is ordered to comply with Fed. R. Crim. P.
16 and produce to the government a summary re expert witnesses no later than May 7, 2025. The
court orders the parties to file any proposed voir dire questions by 9:00 a.m. on May 5, 2025.




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                                                          Initials of Deputy Clerk kd




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